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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

                                                       :
  ADRIAN MARCELO RAMIREZ,                              :   Civil Action No. 21-12408-WJM-AME
  individually and on behalf of all others             :
  similarly situated,                                  :      ORDER RESCHEDULING
                                                       :     TELEPHONIC CONFERENCE
                                      Plaintiff,       :
                                                       :
                        v.                             :
                                                       :
  SMART FOODS INC. and DANIEL                          :
  MUÑOZ,                                               :
                                                       :
                                   Defendants.         :
                                                       :

       The parties are hereby advised that the telephonic conference previously scheduled for

August 2, 2022, at 3:00 p.m., is rescheduled to August 16, 2022, at 10:30 a.m. To join the

conference, dial 866-434-5269, access code 1874589#.

       Defendants shall serve a copy of this Order on pro se Plaintiff Adrian Marcelo Ramirez,

by regular mail and email, within three days of the date of this Order.

       SO ORDERED this 28th day of July 2022.


                                               /s/ André M Espinosa
                                               ANDRÉ M. ESPINOSA
                                               United States Magistrate Judge




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